                                      Case 23-17234              Doc 1        Filed 10/08/23           Page 1 of 30


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ALAFIA HOLDINGS III INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2136 Frederick Avenue
                                  Baltimore, MD 21223
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Baltimore City                                                  Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Lots 118 through 156 (even numbered)
                                                                                                  Baltimore, MD 21223
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 23-17234               Doc 1         Filed 10/08/23              Page 2 of 30
Debtor    ALAFIA HOLDINGS III INC.                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District   Baltimore, Maryland           When      11/30/17                    Case number   17-25990
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                     Case 23-17234                 Doc 1        Filed 10/08/23            Page 3 of 30
Debtor   ALAFIA HOLDINGS III INC.                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 23-17234                Doc 1        Filed 10/08/23             Page 4 of 30
Debtor   ALAFIA HOLDINGS III INC.                                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       October 8, 2023
                                                  MM / DD / YYYY


                             X /s/       Taiwo Agbaje                                                      Taiwo Agbaje
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Director and Secretary




18. Signature of attorney    X /s/ Chidi Onukwugha                                                         Date    October 8, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Chidi Onukwugha
                                 Printed name

                                 Onukwugha and Associates
                                 Firm name

                                 14440 Cherry Lane Court Suite 112
                                 Laurel, MD 20707
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (410) 336-2823                Email address      Attorneyonukwugha@gmail.com

                                  MD
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name         ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           October 8, 2023                        X /s/ Taiwo Agbaje
                                                                       Signature of individual signing on behalf of debtor

                                                                        Taiwo Agbaje
                                                                       Printed name

                                                                       Director and Secretary
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                              Case 23-17234                Doc 1         Filed 10/08/23               Page 6 of 30


 Fill in this information to identify the case:
 Debtor name ALAFIA HOLDINGS III INC.
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ashman               Aaron Naiman                              Baltimore City Tax Unliquidated                                                                             Unknown
 Investments LLC                                                Sale Purchaser
 Care of Naiman &
 Naiman, P.A.         (410) 653-1919
 25 Hooks Lane,
 Suite 202
 Pikesville, MD 21208
 Mayor and City                                                 Real Property           Unliquidated                                                                        Unknown
 Council of Baltimore                                           Taxes
 100 H. Holliday
 Street
 Baltimore, MD 21202
 Miles Agbaje                                                   Paid mortgage       Unliquidated                                                                          $80,000.00
 4315 York Road                                                 payments; Real
 Baltimore, MD 21212                                            Property Taxes,
                                                                legal fees and lots
                                                                expenses




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                  Case 23-17234                            Doc 1              Filed 10/08/23                        Page 7 of 30

 Fill in this information to identify the case:

 Debtor name            ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           500,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           208,429.88

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           708,429.88


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           137,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            80,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             217,000.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                         Case 23-17234                    Doc 1      Filed 10/08/23          Page 8 of 30

 Fill in this information to identify the case:

 Debtor name         ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                             12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                              debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                                    36,429.88   -                               0.00 =....                $36,429.88
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               172,000.00       -                               0.00 =....              $172,000.00
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                     $208,429.88
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 1
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 Debtor         ALAFIA HOLDINGS III INC.                                                      Case number (If known)
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. Office Trailer                                                Unknown                                                   Unknown



 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.
                                                                                                                                          $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         ALAFIA HOLDINGS III INC.                                                      Case number (If known)
                Name

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     118 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.2.
                     128 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.3.
                     130 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.4.
                     138 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.5.
                     136 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.6.
                     142 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.7.
                     144 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.8.
                     148 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.9.
                     140 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.10
           .     152 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.11
           .     154 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


           55.12
           .     156 McPhail Street,
                     Baltimore, MD 21223                  Fee Simple                   Unknown                                            Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         ALAFIA HOLDINGS III INC.                                                     Case number (If known)
                Name

            55.13 NS 10Foot Alley 1st
            .     N of Frederick Ave
                     Rear 152-156                         Fee Simple                   Unknown                              Unknown


            55.14 13 contiguous
            .     industrial zoned lots
                     identified as 118,
                     128, 130, 138, 140,
                     142, 144, 148, 152,
                     154, 156 and NS 10Ft
                     Alley 1st N of
                     Frederick Avenue
                     Rear 152-156,
                     McPhail Street
                     Baltimore, MD 21223                  Fee Simple                   Unknown         N/A              $500,000.00



 56.        Total of Part 9.
                                                                                                                       $500,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 4
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                                           Case 23-17234                       Doc 1           Filed 10/08/23                    Page 12 of 30

 Debtor          ALAFIA HOLDINGS III INC.                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $1.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $208,429.88

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $500,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                           $208,430.88            + 91b.              $500,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $708,430.88




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                          page 5
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                                             Case 23-17234               Doc 1        Filed 10/08/23                Page 13 of 30

 Fill in this information to identify the case:

 Debtor name          ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1    Nick's Amusement Inc.                        Describe debtor's property that is subject to a lien                     $137,000.00               $500,000.00
        Creditor's Name                              118 McPhail Street, Baltimore, MD 21223; 128
                                                     McPhail Street, Baltimore, MD 21223; 130
                                                     McPhail Street, Baltimore, MD 21223; 138
                                                     McPhail Street, Baltimore, MD 21223; 136
                                                     McPhail Street, Baltimore, MD 21223; 142
                                                     McPhail Street, Baltimore, MD 21223; 144
                                                     McPhail Street, Baltimore, MD 21223; 140
                                                     McPhail Street, Baltimore, MD 21223; 152
                                                     McPhail Street, Baltimore, MD 21223; 154
                                                     McPhail Street, Baltimore, MD 21223; 156
                                                     McPhail Street, Baltimore, MD 21223; NS
                                                     10Foot Alley 1st N of Frederick Ave Rear
                                                     152-156; 13 contiguous industrial zoned lots
                                                     identified as 118, 128, 130, 138, 140, 142,
                                                     144, 148, 152, 154, 156 and NS 10Ft Alley 1st
                                                     N of Frederick Avenue Rear 152-156, McPhail
        8100 Harford Road                            Street Baltimore, MD 21223
        Parkville, MD 21234
        Creditor's mailing address                   Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        06/07/2013                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $137,000.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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 Debtor       ALAFIA HOLDINGS III INC.                                                  Case number (if known)
              Name

        Name     and address                                                                    On which line in Part 1 did you   Last 4 digits of
                                                                                                enter the related creditor?       account number for
                                                                                                                                  this entity
        Norino Properties
        10 Warren Road                                                                          Line   2.1
        Suite 130
        Cockeysville, MD 21030




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 2
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                                        Case 23-17234                      Doc 1            Filed 10/08/23           Page 15 of 30

 Fill in this information to identify the case:

 Debtor name         ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown            Unknown
           Ashman Investments LLC                                    Check all that apply.
                                                                        Contingent
           Care of Naiman & Naiman, P.A.
                                                                        Unliquidated
           25 Hooks Lane, Suite 202
                                                                        Disputed
           Pikesville, MD 21208
           Date or dates debt was incurred                           Basis for the claim:
           2022 Tax sale                                             Baltimore City Tax Sale Purchaser
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown            Unknown
           Mayor and City Council of                                 Check all that apply.
                                                                        Contingent
           Baltimore
                                                                        Unliquidated
           100 H. Holliday Street
                                                                        Disputed
           Baltimore, MD 21202
           Date or dates debt was incurred                           Basis for the claim:
           05/2022 to Present                                        Real Property Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 3
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 Debtor        ALAFIA HOLDINGS III INC.                                                                       Case number (if known)
               Name

 2.3        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                         $0.00    $0.00
            Mayor and City Council of                                Check all that apply.
                                                                        Contingent
            Baltimore
                                                                        Unliquidated
            100 H. Holiday Street
                                                                        Disputed
            Baltimore, MD 21202
            Date or dates debt was incurred                          Basis for the claim:
                                                                     118 McPhail Street, Baltimore, MD 21223; 128
                                                                     McPhail Street, Baltimore, MD 21223; 130
                                                                     McPhail Street, Baltimore, MD 21223; 138
                                                                     McPhail Street, Baltimore, MD 21223; 136
                                                                     McPhail Street, Baltimore, MD 21223; 142
                                                                     McPhail Street, Baltimore, MD 21223; 144
                                                                     McPhail Street, Baltimore, MD 21223; 140
                                                                     McPhail Street, Baltimore, MD 21223; 152
                                                                     McPhail Street, Baltimore, MD 21223; 154
                                                                     McPhail Street, Baltimore, MD 21223; 156
                                                                     McPhail Street, Baltimore, MD 21223; NS 10Foot
                                                                     Alley 1st N of Frederick Ave Rear 152-156
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (8)                      Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim


 3.1        Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check all that apply.                $80,000.00
            Miles Agbaje                                                              Contingent
                                                                                      Unliquidated
            4315 York Road                                                            Disputed
            Baltimore, MD 21212
                                                                                   Basis for the claim: Paid mortgage payments; Real Property Taxes, legal
            Date(s) debt was incurred 10/09/2020 to Present
                                                                                   fees and lots expenses
            Last 4 digits of account number                                        Is the claim subject to offset?           No       Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                         On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                             related creditor (if any) listed?                account number, if
                                                                                                                                                              any
 4.1        City of Baltimore Law Department
            City Hall - Room 250                                                                             Line      2.3
            100 N. Holliday Street
                                                                                                                     Not listed. Explain
            Baltimore, MD 21202

 4.2        Director of Finance, City of Baltimore
            100 N. Holliday Street                                                                           Line      2.3
            Baltimore, MD 21202
                                                                                                                     Not listed. Explain


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                                    5a.          $                          0.00
 5b. Total claims from Part 2                                                                                    5b.    +     $                     80,000.00



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 3
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 Debtor       ALAFIA HOLDINGS III INC.                                                           Case number (if known)
              Name


 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.     $               80,000.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   lease of 152 and 156
             lease is for and the nature of               McPhail Street
             the debtor's interest

                 State the term remaining                 month to month
                                                                                      Fabio Sabino
             List the contract number of any                                          152 McPhail Street
                   government contract                                                Baltimore, MD 21223




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                        Case 23-17234                Doc 1    Filed 10/08/23      Page 19 of 30

 Fill in this information to identify the case:

 Debtor name         ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
     2.2     Helen Agbaje                      4315 York Road                                    Nick's Amusement                   D   2.1
                                               Baltimore, MD 21212                               Inc.                               E/F
                                                                                                                                    G



     2.3     Taiwo Agbaje                      4315 York Road                                    Nick's Amusement                   D   2.1
                                               21212                                             Inc.                               E/F
                                                                                                                                    G




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         ALAFIA HOLDINGS III INC.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $9,000.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  $1,550.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       ALAFIA HOLDINGS III INC.                                                                  Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Ashman Investments LLC v.                        Tax Sale                    Circuit Court For                             Pending
               Alafia Holdings III Inc.                         Foreclosure                Baltimore City                                 On appeal
               24-C-23-000779                                                              111 N. Calvert Street- Room                    Concluded
                                                                                           462
                                                                                           21202

       7.2.    Ashman Investments LLC v.                        Tax Sale                   Circuit Court for Baltimore                    Pending
               Alafia Holdings III, Inc.                        foreclosure                City                                           On appeal
               24-C-23-000784                                                              111 North Calvert Street-                      Concluded
                                                                                           Room 462
                                                                                           21202

       7.3.    State of Maryland v. William                     Criminal                   Circuit Court for Baltimore                    Pending
               Culler, et al                                                               City                                           On appeal
               219263003 and 219263001                                                     111 N. Calvert Street                          Concluded
                                                                                           Baltimore, MD 21202

       7.4.    Ashman Investments LLC v.                        Tax Sale                   Circuit Court for Baltimore                    Pending
               Alafia Holdings III Inc.                         Foreclosure                City                                           On appeal
               24C-23001119                                                                111 N. Calvert Street-Room                     Concluded
                                                                                           462
                                                                                           Baltimore, MD 21202


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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 Debtor      ALAFIA HOLDINGS III INC.                                                                      Case number (if known)



    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                  Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                            lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers     Total amount or
                                                                                                                        were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer    Total amount or
               Address                                          payments received or debts paid in exchange                was made                  value

  Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 3

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 Debtor      ALAFIA HOLDINGS III INC.                                                                   Case number (if known)



                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4

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 Debtor      ALAFIA HOLDINGS III INC.                                                                   Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address
       Alafia Holdings III Inc.                                      Maryland Department of               Site Complaint from MDE                Pending
       SC-0-22-SW-083                                                Environment SWP                      Solid Waste Program for                On appeal
                                                                     1800 Washington                      Illegal dumping on 128 and             Concluded
                                                                     Boulevard                            130 McPhail by Tenants
                                                                     Baltimore, MD 21230


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address
       128 and 130 McPhail Street, Baltimore                         Maryland Department of                   Illegal Dumping on Site by     February 17,
                                                                     Environment SWP                          Tenants William Culler and     2023
                                                                                                              James Martin who were
                                                                                                              charged and found guilty
                                                                                                              and are working on
                                                                                                              cleanup


24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None


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 Debtor      ALAFIA HOLDINGS III INC.                                                                   Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Taiwo Agbaje



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Taiwo Agbaje                                  4315 York Road                                       Director                                      0
                                                     Baltimore, MD 21212

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Miles Agbaje                                  4315 York Road                                       Shareholder                                   25
                                                     Baltimore, MD 21212

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Paul Agbaje                                   4315 York Road                                       Shareholder                                   25
                                                     21212

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Olatunji Agbaje                               4315 York Road                                       Shareholder                                   25
                                                     21212



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       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Olushola Agbaje                               4315 York Road                                       Shareholder                           25
                                                     Baltimore, MD 21212



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          October 8, 2023

 /s/    Taiwo Agbaje                                                     Taiwo Agbaje
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Director and Secretary

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                             United States Bankruptcy Court
                                                                         District of Maryland
 In re      ALAFIA HOLDINGS III INC.                                                                                 Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Director and Secretary of the corporation named as the debtor in this case, declare under penalty of perjury that
I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date       October 8, 2023                                                  Signature /s/ Taiwo Agbaje
                                                                                            Taiwo Agbaje

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              VERIFICATION OF CREDITOR MATRIX


I, the Director and Secretary of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:        October 8, 2023                                        /s/ Taiwo Agbaje
                                                                      Taiwo Agbaje/Director and Secretary
                                                                     Signer/Title




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            Aaron A. Naiman
            Naiman & Naiman, P.A.
            25 Hooks Lane, Suite 205
            Pikesville, MD 21208


            Ashman Investments LLC
            Care of Naiman & Naiman, P.A.
            25 Hooks Lane, Suite 202
            Pikesville, MD 21208


            City of Baltimore Law Department
            City Hall - Room 250
            100 N. Holliday Street
            Baltimore, MD 21202


            Director of Finance, City of Baltimore
            100 N. Holliday Street
            Baltimore, MD 21202


            Fabio Sabino
            152 McPhail Street
            Baltimore, MD 21223


            Mayor and City Council of Baltimore
            100 H. Holliday Street
            Baltimore, MD 21202


            Miles Agbaje
            4315 York Road
            Baltimore, MD 21212


            Nick's Amusement Inc.
            8100 Harford Road
            Parkville, MD 21234


            Norino Properties
            10 Warren Road Suite 130
            Cockeysville, MD 21030
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                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ALAFIA HOLDINGS III INC. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  October 8, 2023                                                        /s/ Chidi Onukwugha
 Date                                                                    Chidi Onukwugha
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for ALAFIA HOLDINGS III INC.
                                                                         Onukwugha and Associates
                                                                         14440 Cherry Lane Court Suite 112
                                                                         Laurel, MD 20707
                                                                         (410) 336-2823 Fax:
                                                                         Attorneyonukwugha@gmail.com




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